
2 N.Y.3d 778 (2004)
CHASE MANHATTAN BANK, Formerly Known as CHEMICAL BANK, Successor by Merger to CHASE MANHATTAN BANK, N.A. and CHASE LINCOLN BANK, a National Banking Association, Respondent,
v
JOAN HARRIS, Also Known as JOAN HARRIS RONDEAU, Defendant and Third-Party Plaintiff-Appellant, et al., Defendants. MERRIMACK MUTUAL FIRE INSURANCE COMPANY, Third-Party Defendant-Respondent.
Court of Appeals of the State of New York.
Submitted February 17, 2004.
Decided May 6, 2004.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that dismissed the appeal from Supreme Court's order denying reargument, dismissed upon the ground that such portion of the order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
